     Case 1:12-cr-00344-LJO-SKO Document 84 Filed 10/09/14 Page 1 of 2


1
                  IN THE UNITED STATES DISTRICT COURT FOR THE
2
                           EASTERN DISTRICT OF CALIFORNIA
3

4

5    UNITED STATES OF AMERICA, )
                               )
6                              )
                   Plaintiff,  )                  1:12-cr-344 LJO SKO
7
                               )
8           vs.                )                  STIPULATION AND
                               )                  ORDER TO MODIFY CONDITIONS
9                              )                  OF RELEASE
     Guillermo Paredes, Jr.,   )
10
                               )
11                 Defendant.  )

12         IT IS HEREBY STIPULATED by defendant, Guillermo Paredes, Jr., through his
13
     attorney Barbara Hope O’Neill, and Plaintiff, United States of America, by and through
14
     Assistant United States Attorney, Kevin P. Rooney, and by and through Pretrial Services
15

16
     Officer, Lydia Serrano that the condition of curfew and location monitoring be removed

17   from the conditions set forth by the CONSENT TO MODIFY CONDITIONS OF
18   RELEASE filed on March 5, 2014 without necessity of an appearance hearing.
19
           It is hereby ordered that Mr. Guillermo Parades, Jr.’s conditions of release filed
20
     March 5, 2014, be modified as follows:
21

22         Curfew with location monitoring is deleted.

23         All previous orders to remain in full force and effect.
24
                                                  Respectfully submitted,
25

26

27
     Dated: October 8, 2014                       /s/ Barbara Hope O’Neill
28                                                Barbara Hope O’Neill
                                                  Attorney for Guillermo Paredes, Jr.



                                                 -1-
     Case 1:12-cr-00344-LJO-SKO Document 84 Filed 10/09/14 Page 2 of 2


1    Dated: October 8, 2014                     /s/ Kevin P. Rooney,
                                                Assistant United States Attorney
2

3    Dated: October 8, 2014                     /s/Lydia Serrano
                                                Pretrial Services Officer
4

5

6
                                            ORDER
7

8
           The condition of curfew and location monitoring shall be removed from the

9    conditions of release.
10

11      IT IS SO ORDERED.

12      Dated:      October 9, 2014                   /s/ Sheila K. Oberto__
13                                                   U.S. MAGISTRATE JUDGE

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                               -2-
